                       UNITED STATES BANKRUPTCY COURT
                        EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION
In re:

ARK LABORATORY, LLC,                              Case No. 23-43403-MLO
                                                  Chapter 11
         Debtor.                                  Hon. Maria L. Oxholm
                            /
PAUL R. HAGE, solely in his
capacity as Liquidating Trustee
of the Ark Laboratory Trust,

         Plaintiff,                               Adv. P. Case No. 23-04496-MLO

v.

JAMES A. GROSSI, an Individual,
2210/305 LLC, a Michigan limited liability
Company, BRIAN TIERNEY,
Individually and as Trustee of the
TIERNEY FAMILY TRUST DATED
12/21/2018, NAMEER KIMINAIA,
Individually and as Trustee of the NAMEER
KIMINAIA LIVING TRUST DATED 5/31/2019,
TIERNEY FAMILY TRUST DATED
12/21/2018, NAMEER KIMINAIA
LIVING TRUST DATED 5/31/2019,
HAMID SATTAR, ION DIAGNOSTICS, LLC, a
Michigan limited liability company, and ION
MARKETING, LLC, a Michigan limited liability
company,

         Defendants.
                                   /

                     PLAINTIFF’S FIRST SET OF
            INTERROGATORIES AND DOCUMENT REQUESTS TO
                      DEFENDANT 2210/305 LLC



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      Plaintiff Paul R. Hage, Solely in his Capacity as Liquidating Trustee

(“Plaintiff”) through his undersigned counsel, serves the following First Set of

Interrogatories and Document Requests (collectively, the “Discovery Requests”)

upon defendant 2210/305 LLC (“Defendant”), pursuant to Fed. R. Bankr. P.

7033/Fed. R. Civ. P. 33 and Fed. R. Bankr. P. 7034/Fed. R. Civ. P. 34 (the

“Applicable Rules”). Defendant shall submit its responses within 30 days of the

date hereof pursuant to the Applicable Rules. These Discovery Requests shall be

deemed continuing, and supplemental responses are required and must be provided

pursuant to Fed. R. Bankr. P. 7026/Fed. R. Civ. P. 26.

                       INSTRUCTIONS AND DEFINITIONS

      1.       In answering the following Discovery Requests, produce all of the

requested information and documents in Defendant’s possession, custody, or

control.

      2.       These Discovery Requests are ongoing. If any information or

documents come to your attention or into your possession, custody, or control after

you have served your response, which information or documents were not included

in your response, such information or documents must be promptly furnished to the

undersigned.

      3.       If you object to any of the Instructions or Definitions herein, you must

do so by written response hereto. If your written response to an Instruction or



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Definition is not made prior to your response to these Requests, it will be presumed

that you do not object to any Instruction or Definition.

      4.         In answering the Interrogatories and Requests, you are requested to

identify all persons who provided the information requested and all documents

reviewed or referenced in supplying the information.

      5.         In answering the Interrogatories and Requests, you are requested to

furnish all information available to you, including documents and information in

the possession of your attorneys, investigators, or agents, and not merely documents

and information within your personal possession or control. If you cannot respond

to the following Interrogatories or Requests for Production in full after exercising

due diligence, so state and answer to the extent possible, specifying your inability

to respond to the remainder and stating whatever information or knowledge you

have concerning the unanswered portions.

      6.         If you consider any document or communication to be privileged,

separately with regard to each such document or communication, provide the

following information:

           (a)       Describe the contents generally and the date of the document or
                     communication;

           (b)       Explain fully the basis for the claimed privilege;

           (c)       Identify the author or maker and all signatures on the document or
                     communication;



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            (d)       Identify all persons or entities who have, or have had, access to
                      any such matter referred to or involved in such document or
                      communication; and

            (e)       Identify the custodian of the original and all copies of the
                      document.

      7.          If the response to any request herein consists, in part or in whole, of

an objection relating to the specific request, state with particularity the nature of the

objection.

      8.          All electronic data created by Defendant from January 1, 2014,

through present must be preserved. Please ensure that all current back-up tapes,

disks or drives are not rewritten. Stop any rotation, alteration and/or destruction of

electronic media that may result in the alteration or loss of any electronic data

relating to the issues in this lawsuit. Do not alter and/or erase active, deleted files

or file fragments on any electronic media that may have any relation to this matter.

Do not conduct any maintenance such as defragging, reformatting or upgrading any

hard drives that may contain data relevant to this litigation. Do not dispose of any

electronic media storage devices replaced due to failure and/or upgrade that may

contain electronic data having any relation to this matter.

      9.          All such electronically stored information must be produced in “native

format,” including all metadata.

      10.         The term “Adversary Proceeding” shall mean the above captioned

Adversary Proceeding.


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       11.   The term “Complaint” shall mean and refer to Plaintiff’s Complaint at

ECF No. 1 in this matter.

       12.   The term “Interrogatories” shall mean and refer to these

Interrogatories.

       13.   The term “Request” shall mean and refer to Plaintiff’s Request for

Production of Documents.

       14.   The term “Answer” shall mean and refer to the Defendant’s Answer

to Plaintiff’s Complaint at ECF No. 56 in this matter.

       15.   The term “Affirmative Defenses” means the Defendant’s Affirmative

Defenses identified in the Answer.

       16.   The term “2210/305” shall mean and refer to Defendant 2210/305,

LLC.

       17.   The term “Grossi” shall mean Defendant James A. Grossi.

       18.   The term “Defendant” shall mean and refer to Defendant 2210/305.

       19.   The term “Plaintiff” means the Plaintiff in this Adversary Proceeding,

Paul R. Hage, Solely in his Capacity as Liquidating Trustee.

       20.   The term “Ark” or “Debtor” shall mean and refer to Ark Laboratory,

LLC, its affiliated entities, as well as its current and former agents, officers,

directors, members, employees, representatives (including attorneys and

accountants), and all other persons acting or purporting to act on its behalf.



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      21.    The term “Redemption Purchase Price” means the amount of

$16,480,000 described in the MIRA.

      22.    The term “Bankruptcy Proceeding” means the above captioned

bankruptcy matter of the Debtor.

      23.    The term “Requests for Admissions” or “Request for Admission”

means the Plaintiff’s Requests for Admissions filed concurrently with these

Interrogatories and Request directed to you.

      24.    All capitalized terms not otherwise defined in these Interrogatories

shall have the meaning ascribed to them in the Complaint.

      25.    The term “including” means including without limitation.

      26.    The terms “relate to” and “relating to” mean in any way concerning,

constituting, referring to, analyzing, discussing, describing, considering,

modifying, amending, confirming, endorsing, evidencing, representing, supporting,

qualifying, terminating, revoking, canceling, negating or listing, unless qualified by

a word of limitation. “Refer to” and “referring to” have the same meaning as stated

herein.

      27.    The term “explain” means provide a comprehensive, accurate, and

detailed explanation of information requested in the propounded interrogatory.

      28.    The term “documents” means any medium upon which information is

or may be recorded, and refers to and includes, but is not limited to, the originals,



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non-identical copies and drafts of the following, whether written, printed, typed,

magnetically recorded, optically recorded, electronically recorded or reproduced by

hand: correspondence, memoranda, publications, sales literature, compilations,

inter-office communications, records, summaries of personal conversations or

interviews, minutes, projections, statistical statements, drafts, contracts,

agreements, purchase orders, invoices, statements, books of account, ledgers,

checks, wire transfers, telegrams, telexes, telefaxes, e-mails (including e-mails not

yet deleted, e-mails deleted but not physically destroyed, e-mails maintained on

system backup disks or tapes, e-mails and text messages transmitted through any

wireless networks, and paper printouts of e-mails), voice-mails, books, notes,

reports, logs, diaries, data, tape recordings, transcripts of recordings, blueprints,

charts, graphs, notebooks, drawings, plans, films, photographs, videotapes,

electronic files, computer programs, computer hard drives, CDs, DVDs, discs,

printouts, attachments and all other tangible things.

      29.    The term “communication(s)” means any transmittal of information

(i.e., facts, ideas, inquiries, etc.), whether done orally, electronically, or in writing

from one person or entity to another, or to oneself or to any file, archive or system,

including, but not limited to, any inquiries, discussions, conferences, electronic

mail, conversations, negotiations, agreements, meetings, interviews, telephone

conversations, letters, correspondence, notes (whether typed or handwritten),



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telegrams, telexes or other forms of communication.

      30.    The terms “you,” “your,” “yours” shall mean and refer to refer to the

Defendant 2210/305.

      31.    The term “identify” with respect to a person means to provide, to the

fullest extent possible, the person’s full name, present (or last known) home and

business address, home and business telephone and cell phone number, email

addresses and last known place of employment.

      32.    The term “identify” with respect to a document means to provide, to

the fullest extent possible, the (1) type; (2) general subject matter; (3) date; (4)

author(s); (5) addressee(s); and (6) any other recipient(s).

      33.    The term “identify” with respect to a communication or other event,

means (1) to state the date of such communication or other event; (2) to identify

each person participating therein and/or each person who was present; (3) to state

what was said by each participant in the course of such communication or other

event, or, if not known or recalled, the substance; (4) to state whether there are any

documents which set forth, summarize or refer to any portions of such

communication or other event; and (5) if such documents exist, to identify each

such document and each person having custody of the document.

      34.    The term “any” shall include the collective as well as the singular and

shall mean “each”, “all”, and “every.” These terms shall be interchangeable.



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      35.   The term “and” as well as the term “or” shall be construed either

disjunctively or conjunctively as necessary to bring within the scope of these

Discovery Requests information which might otherwise be construed to be outside

the scope of Discovery Requests.

                             INTERROGATORIES

      1.    Identify all persons who contributed any information to or assisted in

the preparation of any response to these discovery requests and specify each of the

discovery request(s) to which they contributed.

ANSWER:




      2.    Identify all persons who you know to have and persons you believe to

have any records, documents or other information pertaining to the Redemption.

ANSWER:




      3.    Identify each of the documents to which you referred or that you relied

on or referenced for your Answer, Affirmative Defenses and to respond to the

Requests for Admissions or any discovery request in the Adversary Proceeding.

ANSWER:



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      4.    Explain the factual basis for each of your Affirmative Defenses.

ANSWER:




      5.    Identify all written or verbal agreements 2210/305 entered into to

acquire your membership interest in the Debtor, the date of each such agreement,

and identify all consideration paid, the date of all payments, the source of payment

and to whom consideration was paid.

ANSWER:




      6.    Identify all persons who you know to have and persons you believe to

have any records, documents or other information pertaining to all payments

2210/305 received from Ark for the period of January 1, 2020 through April 30,

2023, including but not limited to payments related to the Grossi Transfers and/or

the Grossi Loans and any other payments made to 2210/305.

ANSWER:




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      7.    For the period of January 1, 2020 through April 30, 2023, identify each

payment and transfer made by Ark directly to you or for your benefit, including the

name of the recipient, date of the payment, and amount of each payment.

ANSWER:




      8.    For each bank account where payments from Ark described in

Interrogatory 7. were deposited, identify the name of the bank and the name of the

account holder, the date of deposit or transfer and the amount of each deposit or

transfer.

ANSWER:




      9.    Identify all persons who you know to have and persons you believe to

have any records, documents or other information pertaining to all payments

responsive to Interrogatory 7. above.

ANSWER:




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      10.    For all payments and transfers responsive to Interrogatory 7. above,

provide a detailed explanation of the reason for each payment.

ANSWER:




      11.    Identify and describe all value you transferred, conveyed or gave to Ark

in exchange for all payments and transfers identified in Interrogatory 7. including

dates that value was transferred, conveyed or given.

ANSWER:




      12.    Identify all members, managers, beneficiaries or beneficial owners of

2210/305, and for each person or entity identified, provide all current and prior titles

and roles with 2210/305.

ANSWER:




      13.    For the period of January 1, 2020 through the Petition Date, identify all

email addresses, email accounts, SMS, text messaging or other instant messaging

services including all telephone numbers, usernames, handles or email addresses you



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used to communicate about Ark, payments and transfers you received from Ark, the

Redemption and the Grossi Transfers (e.g. Whatsapp, Slack, Google Chat, Facebook

Messenger or other messaging services).

ANSWER:




        14.   Identify all loans 2210/305 obtained from Ark including the date of the

loans and the amount of each loan.

ANSWER:




        15.   Identify all loans by 2210/305 to Ark including the date of the loans

and the amount of each loan.

ANSWER:



        16.   For each Request for Admission you did not admit in its entirety,

explain in detail the reason for denying the Request for Admission in whole or in

part.

ANSWER:




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                         REQUESTS FOR PRODUCTION

      1.     All documents referring to, relating to, and/or identifying any person

and/or entity who received the proceeds of the payments made for, to or for the

benefit of 2210/305 for the period from January 1, 2020 through April 30, 2023.

RESPONSE:



      2.     All documents evidencing authority for 2210/305 to enter into the

Redemption, and/or execute documents relating to the Redemption.

RESPONSE:



      3.     All documents and written communications (including drafts) referring

or relating to payments 2210/305 received from Ark for the period of January 1,

2020 through April 30, 2023, the Redemption, the Note Obligations and the

Transfers.

RESPONSE:




      4.     All of Defendant’s filed local, state and federal tax returns and any

amendments for the reporting periods of 2020 through 2022.

RESPONSE:



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      5.     All organizing documents of 2210/305, including but not limited to the

operating agreement and any amended operating agreements.

RESPONSE:




      6.     All documents (including drafts of documents) evidencing loans by Ark

to you or by you to Ark, including but not limited to documents evidencing payment

of any such loans or forgiveness of such loans.

RESPONSE:



      7.     All documents regarding the value you transferred, conveyed or gave

to Ark in exchange for payments and transfers described in your response to

Interrogatory 7.

RESPONSE:




      8.     All documents (including drafts) memorializing Sattar’s transfer or sale

of his membership interests to the Trusts, 2210/305, Tierney, Kiminaia or Grossi.

RESPONSE:


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      9.    All documents (including drafts) relating to the transfer, sale or

conveyance of Grossi’s membership interest in Ark to 2210/305.

RESPONSE:




      10.   All settlement agreements and draft settlement agreements relating to

the resolution of the claims and causes of action related to the Oakland County

Circuit Court Matter of Tierney Family Trust, et al, v. Ark Laboratory, LLC, et al

Case No. 22-192334-CB.

RESPONSE:




      11.   All documents referred to or relied upon in any discovery request

response in the Adversary Proceeding.

RESPONSE:




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      12.   All documents (including drafts) of any of Ark’s company records or

communications you have retained or that are in your possession or control.

RESPONSE:




      13.   All documents that support your full or partial denial of any Request

for Admission.

RESPONSE:




      14.   All documents that support your Answer and Affirmative Defenses.

RESPONSE:




                                Respectfully submitted;

                                TAFT STETTINIUS & HOLLISTER, LLP

                                By: /s/Kimberly Ross Clayson
                                Kimberly Ross Clayson (P69804)
                                Judith Greenstone Miller (P29208)
                                27777 Franklin Road, Suite 2500
                                Southfield, Michigan 49034
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                               David H. Wallace (Ohio Bar No. 0037210)
                               200 Public Square Suite 3500
                               Cleveland, OH 44114-2302
                               (216) 241-2838
Dated: March 12, 2024          dwallace@taftlaw.com

                               Attorneys for Plaintiff Paul R. Hage Solely in his
                               Capacity as Liquidating Trustee of the Ark
                               Laboratory Trust




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                       UNITED STATES BANKRUPTCY COURT
                        EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION
In re:

ARK LABORATORY, LLC,                               Case No. 23-43403-MLO
                                                   Chapter 11
         Debtor.                                   Hon. Maria L. Oxholm
                            /
PAUL R. HAGE, solely in his
capacity as Liquidating Trustee
of the Ark Laboratory Trust,

         Plaintiff,                                Adv. P. Case No. 23-04496-MLO

v.

JAMES A. GROSSI, an Individual,
2210/305 LLC, a Michigan limited liability
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Individually and as Trustee of the
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KIMINAIA LIVING TRUST DATED 5/31/2019,
TIERNEY FAMILY TRUST DATED
12/21/2018, NAMEER KIMINAIA
LIVING TRUST DATED 5/31/2019,
HAMID SATTAR, ION DIAGNOSTICS, LLC, a
Michigan limited liability company, and ION
MARKETING, LLC, a Michigan limited liability
company,

         Defendants.
                                                                /

                               CERTIFICATE OF SERVICE

       I hereby certify that on March 12, 2024, I caused a copy of the Plaintiff’s First
Set Of Interrogatories And Document Requests To Defendant 2210/305 LLC and this


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Certificate of Service on all parties who are registered to receive electronic
notification via the court’s ECF filing system, including the Defendant’s counsel via
electronic mail.

                                Respectfully submitted;

                                TAFT STETTINIUS & HOLLISTER, LLP

                                By: /s/Kimberly Ross Clayson
                                Kimberly Ross Clayson (P69804)
                                Judith Greenstone Miller (P29208)
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                                200 Public Square Suite 3500
                                Cleveland, OH 44114-2302
                                (216) 241-2838
Dated: March 12, 2024           dwallace@taftlaw.com
                                Attorneys for Plaintiff Paul R. Hage Solely in his
                                Capacity as Liquidating Trustee of the Ark
                                Laboratory Trust




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